                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW HAMPSHIRE


 NEW HAMPSHIRE INDONESIAN
 COMMUNITY SUPPORT, et al.,

                     Plaintiffs,                         Case No. 1:25-cv-38-JL-TSM

                          v.

 DONALD J. TRUMP, President of the United
 States, in his official capacity, et al.,

                     Defendants.



                                   PRELIMINARY INJUNCTION

        After careful consideration of the parties’ submissions, the supporting declarations, the

applicable law, and the filings and record in this case, the court GRANTS Plaintiffs’ Motion for

Preliminary Injunction.

        The court hereby finds that Plaintiffs have demonstrated a likelihood of success on the

merits of their claims; that Plaintiffs are likely to suffer irreparable harm if the order is not

granted; that the potential harm to the Plaintiffs if the order is not granted outweighs the

potential harm to Defendants if the order is granted; and that the issuance of this order is in the

public interest.

        Pursuant to Federal Rule of Civil Procedure 65(a), this court orders that all Defendants

are enjoined from enforcing Executive Order 14160, “Protecting the Meaning and Value of

American Citizenship,” in any manner with respect to the plaintiffs, and with respect to any

individual or entity in any matter or instance within the jurisdiction of this court, during the

pendency of this litigation.
       No security is warranted or required under Fed. R. Civ. P. 65(c).

       This preliminary injunction shall take effect immediately upon entry of this Order and

shall remain in effect until the entry of judgment in this matter or by further order of the court.

        It is so ordered.



                                                      ______________________________
         2/10/2025
        ________________                              Joseph N. Laplante
         Date                                         United States District Judge




                                                  2
